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                          UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
                                                        2U13 JAN 24 Pt1 4: 22
UNITED STATES OF AMERICA,

                         Plaintiff,
                                                       Byte
                  vs.                       JUDGMENT OF DISMISSAL
IRVINE RODRIGUEZ (8),

                         Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion    the Government for dismissal
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of            Government for dismissal,
     without     udice; or

     the Court has granted the motion of the defendant for a judgment of
     acqu    1; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of      of         (s) as charged in the Indictment/Information:

     21:841(a} (1) and 846; 21:853 and 18:982



           IT IS THEREFORE ADJUDGED that the          fendant is hereby discharged.


DATED: January 24, 2013
                                            William V. Gallo
                                            U.S. Magistrate Judge
